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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   8

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                                  10   X CORP.,
                                  11                  Plaintiff,                            No. C 23-03698 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   BRIGHT DATA LTD.,                                    ORDER RE HEARING TOMORROW
                                  14                  Defendant.

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                                  16        At the hearing tomorrow, the parties should be prepared to address the potential for
                                  17   further briefing on copyright preemption. See, e.g., Craigslist Inc. v. 3Taps Inc., 942 F. Supp.
                                  18   2d 962, 976–77 (N.D. Cal. 2013) (Judge Charles R. Breyer); see also Genius Media Grp. Inc.
                                  19   v. Google LLC, No. C 19-07279 MKB, 2020 WL 5553639 (E.D.N.Y. Aug. 10, 2020), aff’d sub
                                  20   nom. ML Genius Holdings LLC v. Google LLC, No. 20-3113, 2022 WL 710744 (2d Cir. Mar.
                                  21   10, 2022), cert. denied, 143 S. Ct. 2658 (2023).
                                  22        IT IS SO ORDERED.
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                                  24   Dated: January 9, 2024.
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                                                                                              WILLIAM ALSUP
                                  27                                                          UNITED STATES DISTRICT JUDGE
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